Case 2:19-cv-07381-DMG-MRW Document 1-1 Filed 08/26/19 Page 1 of 9 Page ID #:8




                      EXHIBIT A




    ADMIN 5885794v1
      Case 2:19-cv-07381-DMG-MRW Document 1-1 Filed 08/26/19 Page 2 of 9 Page ID #:9




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20189578
Notice of Service of Process                                                                            Date Processed: 08/05/2019

Primary Contact:           Vicki Ann Swanson
                           Medtronic
                           710 Medtronic Pkwy
                           Minneapolis, MN 55432-5603

Electronic copy provided to:                   Jackie Hiltner

Entity:                                       Medtronic, Inc.
                                              Entity ID Number 3810357
Entity Served:                                Medtronic, Inc
Title of Action:                              Sharon Tolbert vs. Medtronic, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Product Liability
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            BC699331
Jurisdiction Served:                          California
Date Served on CSC:                           08/02/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Christopher J. Gansen
                                              424-201-5625

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
           Case
             A,
                2:19-cv-07381-DMG-MRW Document 1-1 Filed 08/26/19 Page 3 of 9 Page ID #:10
     L   -


                                                                                                                                                                   SUM-100
                                                                    SUMMONS                                                             FOR COURT USE ONLY
                                                                                                                                    (SOLO PARA USO DE LA CORTE)
                                                             (CITACION JUDICIAL)                                                     Eleetrortiitally
     NOTICE i O DEFENDANT:                                                                                                           ~ I ~~~
     (AVISO AL DEMANDADO):
                                                                                                                              by Superior Court of Califomia
         Medtronic, Inc., Medtronic Neuromodulation, DOES 1-50                                                                  County of Los A,geles on
                                                                                                                                       03/28/1 $
     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                Sh em R. Carter, Fx ecutiue Off c erdG lerk

         Sharon Tolbert                                                                                                  By        k -Z~ •                      DepLrty
                                                                                                                              Charlie Coleman

          NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
          below.
             You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone cal[ will not protect you. Your written response must be in proper legal form if you want the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
          Online Self-Help Center (www.courtinfo.ca.gov/se/fhe/p), your county [aw library, or the courthouse nearest you. If you cannot pay the filing fee, ask
          the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
          may be taken without further warning from the court.
             There are other legal requirements. You may want to call an attorney right away. If you do not know an attomey, you may want to call an attorney
          referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
          these nonprofit groups at the California Legal Services Web site (www.lawhe/pcalifomia.org), the California Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
          costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         iAVISOf Lo han demandado. Si no responde dentro de 30 dias, la corfe puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
         continuacfbn.
           Tiene 30 D(AS DE CALENDARIO despucs de que /e entreguen esta citaci6n y papeles lega/es para presentar una respuesta por escrito en esta
         corte y hacer que se entregue una copia a/ demandante. Una carta o una l/amada telef6nica no /o protegen. Su respuesta por escrito tiene que estar
         en formato legal correcto si desea que procesen su caso en /a corte. Es posib/e que haya un formu/ario que usted pueda usar para su respuesta.
         Puede encontrar estos formu/arios de la corte y mJs informacibn en el Centro de Ayuda de las Cortes de Californfa (www.sucorte.ca.gov), en la
         bib/ioteca de /eyes de su condado o en /a corte que /e quede m6s cerca. Sf no puede pagar la cuota de presentaci6n, pida al secretario de la corte
         que /e dc un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y/a corte le
         podri quitar su sueldo, dinero y bienes sin mis advertencia.
           Hay otros requisitos /egales. Es recomendab/e que llame a un abogado inmedfatamente. Sf no conoce a un abogado, puede llamar a un servicio de
         remisi6n a abogados. Si no puede pagar a un abogado, es posib/e que cumpla con los requisitos para obtener servicios /ega/es gratuitos de un
         programa de servicios /ega/es sin ffnes de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Lega/ Services,
         (www.lawhelpcalifornia.org), en et Centro de Ayuda de /as Cortes de Califomia, (www.sucorte.ca.gov) o poni6ndose en contacto con la corte o el
         co/egio de abogados /oca/es. AV/SO: Por /ey, /a corfe tiene derecho a rec/amar /as cuotas y los costos exentos por imponer un gravamen sobre
         cua/quierrecuperaci6n de $10,000 6 mcls de va/orrecibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
         pagare/ gravamen de /a corte antes de que /a corte pueda desechare/ caso.

     The name and address of the court is:                                                                              CASe NUMeER:
     (El nombre y direccibn de /a corte es): 111 N. HIII St., Los Angeles CA 90012
                                                                                   (N6merodelCaso):
                                                                                                                                                     +
                                                                                                                                                   Br 699331
         Los Angeles, CA, Central District

     The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
     (EI ng~nbre, la dir~ccibn y el numerQde
         C: (aansen, ansen Law                                      la roup,
                                                                         telefqpoCde/83~5d~uriset
                                                                              I-'                 ~~aa~te 204e LOsa~ngetes               ~e~e900g69~'424-201-5E

     DATE:                                                                                          Clerk, by                                                         Deputy
                       03/28/2018                                      Sherri R. Ca rter                                                           cnaiecoiema~     (AdjUntO)
     (FeCha)                                                                                        (Secretario)   ~`~*
     (For proof of service of this summons, use Proof of Service of Summons (form P0S-010).)
     (Para prueba de entrega de esta citation use e/ formulario Proof of Service of Summons, (POS-010)).
                                                               NOTICE TO THE PERSON SERVED. You are senred
         [SEAI.]              '~LLL564.i'A pL
                                                               1.     as an individual defendant.
                                                               2.     as the person sued under the fictitious name of (specify):
           ._y~ Fy":,
                     ;1~~              ~~'~"• r~3
                                            •~N.n':~~' 4
               ' •. F ,           ~~            ~, . ~         g,         on behalf of (specify):   ~'e ~+► ~h ~ ~ 1 "G
               . R•i 1 ,. .
                                   .~ ~~'~r ?' ,         t
                                                                     under:        CCP 416.10 (corporation)            0 CCP 416.60 (minor)
                              •        P ' .-r                                     CCP 416.20 (defunct corporation)         CCP 416.70 (conservatee)
                                                                              ~ CCP 416.40 (association or partnership) 0 CCP 416.90 (authorized person)
                       W~:~'~..~...:~~'~.~
0                         •-,....... ...~                                ~ other (specify):
W
z                                                              4. 0 by personal delivery on (date):
z                                                                                                                                                                      Page 1 of 1
Q
U
         Form Adopted for Mandatory Use
           Judicial Council of Califomia
                                                                                              SUMMONS                                        Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                               www.couRlnfo.ca.gov
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-?         SUM-100 [Rev. July 1, 2009]
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DEPT 92Case   2:19-cv-07381-DMG-MRW
        Ho,! Marc D. Gross A7260                               Document 1-1 Filed 08/26/19 Page 4 of 9 Page ID #:11

   90301                                                                                                                           PLD-PI-001
       LITlifINLOWePjHOLI~ATIQRNErY~(~►afuQ SYate,$~rgr;rp¢er, and addn:ss):                                   FOR COURT USE ONLY
                            fl Serl t.7CSIV L.3L IJJJ
          Gansen Law Glr~ou p                                                                                 Electronically
          8335 Sunset BI., Ste. 204
          Los Angeles CA 90069
              TELEPHONE NO: 424-201-5625                        FAX NO. (Oprional): 424'214-1170
                                                                                                              Fl LED
                                                                                                        by Superior Court of Califomia
       E_MAILADDRESS(Optlona,): chris@gansenlawgroup.com                                                  County of Los Angeles on
          ATTORNEYFOR(Name): Plalntlff lolbert
   SUPERIOR COURT OF CALIF~      I~ C~
                          Or{~' I~~  (c~UNTY OF
                                                                                                                  03/28/18
              STREETADDRESS: 111 IV. ' "II Jt'                                                     Sh erri R. Carter,   eeutiue Offic erlC lerk
              MAILING ADDRESS:
              CITYANDZIPCODE: LOs Angeles, CA                                                      By       9 '4 '                      Deputy
                 BRANCHNAME: Central DIStrICt                                                           Charlie Coleman
                   PLAINTIFF:

                DEFENDANT: Medtronlc, Inc.,              Medtronic Neuromodulation

   ✓ DOES 1 TO 50
   ~
       COMPLAINT—Personal Injury, Property Damage, Wrongful Death
           0 AMENDED (Number):
       Type (check all that apply):
   ~ MOTOR VEHICLE = OTHER (specify): Products Liab.
      ~ Property Damage  Wrongful Death
      ~ Personal Injury  Other Damages (specify):
   Jurisdiction (check all that apply):                                                            CASE NUMBER:
   0 ACTION IS A LIMITED CIVIL CASE
        Amount demanded 0 does not exceed $10,000
                               0 exceeds $10,000, but does not exceed $25,000
   0✓ ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)                                                      BC699331
   ~ ACTION IS RECLASSIFIED by this amended complaint
        0 from limited to unlimited
        0 from unlimited to limited
   4     0:~:..s:a i...,.,,,, .,r.,.,.,,..~i•

          Ileg s caLlses of action a ainst defe dant (name rrlames :
         ~/lec~tronic, Inc., Me~tronic Neuromodu~ation, OES 1-50
   2. This pleading, including attachments and exhibits, consists of the following number of pages: 6
   3. Each plaintiff named above is a competent adult
      a. = except plaintiff (name):
                (1) 0 a corporation qualified to do business in California
               (2)        an unincorporated entity (describe):
               (3) 0 a public entity (describe):
                (4)       a minor 0 an adult
                          (a)       for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                          (b)       other (specify):
                (5) 0 other (specify):
         b.          except plaintiff (name):
                     (1) 0 a corporation qualified to do business in California
                     (2)       an unincorporated entity (describe):
                     (3) 0 a public entity (describe):
                     (4)       a minor = an adult
                               (a) 0 for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                               (b) 0 other (specify):
                     (5) 0 other (specify):

        0 Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                  Pa9e I efa
   Form Approved for Optional Use                        COMPLAINT—Personal Injury, Property                            CodeofCivilProcedure,§425.12
     Judicial Council of Califomia                                                                                                www.courtinfo.ca.gov
  PLD-PI-001 [Rev. January 1, 2007]                          Damage, Wrongful Death
  DEPT 92Case  2:19-cv-07381-DMG-MRW
          HoD Marc D. Gross A7260                           Document 1-1 Filed 08/26/19 Page 5 of 9 Page ID #:12


                                                                                                                                       PLD-PI-001

        SHORT TITLE:                                                                                      cASE NUMeER:
           Tolbert v. Medtronic, Inc., Medtronic Neuromodulation, et al.                                                      BC699331
      4. = Plaintiff (name):
             is doing business under the fictitious name (specify):

               and has complied with the fictitious business name laws.
      5. Each defendant named above is a n t ral person
          a. ~ except defendant (name): edtronlc InC.                          c. 0 except defendant (name):
                  (1) = a business organization, form unknown                         (1)      a business organization, form unknown
                  (2) ~✓ a corporation                                                (2) 0 a corporation
                  (3) 0 an unincorporated entity (describe):                          (3) 0 an unincorporated-entity (describe):

                       (4) = a public entity (describe):                                (4) 0 a public entity (describe):

                       (5) 0 other (specify):                                           (5) 0 other (specify):




           b. = except defendant (name): Medtronic Neuromod d. = except defendant (name):
                  (1) ~✓ a business organization, form unknown      (1)      a business organization, form unknown
                  (2)      a corporation                            (2) 0 a corporation
                  (3) 0 an unincorporated entity (describe):        (3) 0 an unincorporated entity (describe):

                       (4) 0 a public entity (describe):                                (4) 0 a public entity (describe):

                       (5) Q other (specify):                                           (5) 0 other (specify):


            0 Information about additional defendants who are not natural persons is contained in Attachment 5.

      6.     The true names of defendants sued as Does are unknown to plaintiff.
                                                         1-25                          were the agents or employees of other
             a. 0 Doe defendants (specify Doe numbers):
                  named defendants and acted within the scope of that agency or employment.
             b. 0 Doe defendants (specify Doe numbers):
                                                            26-50                        are persons whose capacities are unknown to
                     plaintiff.
      7.     0 Defendants who are joined under Code of Civil Procedure section 382 are (names):




      8.     This court is the proper court because
             a. 0 at least one defendant now resides in its jurisdictional area.
             b.         the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
             c. r_,V I injury to person or damage to personal property occurred in its jurisdictional area.
             d. 0 other (specify):




      9.     0 Plaintiff is required to comply with a claims statute, and
             a. 0 has complied with applicable claims statutes, or
             b.         is excused from complying because (specify):



0
w                                                                                                                                            Page 2 of 3
z     PLD-PI-001 [Rev. January 1, 2007]               COMPLAINT—Personal Injury, Property
z                                                         Damage, Wrongful Death
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     DEPT 92Case   2:19-cv-07381-DMG-MRW
             Hon: Marc D. Gross A7260                            Document 1-1 Filed 08/26/19 Page 6 of 9 Page ID #:13
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                                                                                                                                         PLD-PI-001
        SHORT TITLE:                                                                                    cASE NUMeER:
         DeBaca v. Cabo Cantina, LLC ; Cabo Cantina L.A. LLC
                                                                                                                               BC699331
        10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
            causes of action attached):
            a. = Motor Vehicle
            b. © General Negligence
            c. = Intentional Tort
            d. 0✓ Products Liability
            e. 0 Premises Liability
            f. ® Other (specify):
                            Song-Beverly Warranty Act



        11. Plaintiff has suffered
             a. ~ ✓ wage loss
             b. = loss of use of property
             c. F_*71 hospital and medical expenses
             d. 0 general damage
             e. 0 property damage
             f. ® loss of earning capacity
             g. = other damage (specify):




        12. = The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
             a. 0 listed in Attachment 12.
             b. 0 as follows:




        13. The relief sought in this complaint is within the jurisdiction of this court.




        14. Plaintiff prays forjudgment for costs of suit; for such relief as is fair,.just, and equitable; and for
            a. (1) F;;9 compensatory damages
                (2) 0 punitive damages
                The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
                (1) F_V_~ according to proof
                (2) 0 in the amount of: $

        15. 0 The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




        Date: 3/27/18

        Christopher J. Gansen                                                        1
                                      (TYPE OR PRINT NAME)                                        (SIGNATURE OF PLAINTIFF OR ATTORNEY)
0
W                                                                                                                                            Page3of3
z      PLD-PI-001 [Rev. January 1, 2007]                     COMPLAINT—Personal Injury, Property
z                                                                Damage, Wrongful Death
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u)
uJ
               Case 2:19-cv-07381-DMG-MRW Document 1-1 Filed 08/26/19 Page 7 of 9 Page ID #:14
     DEPT 92 Hon r Marc D. Gross A7260
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                                                                                                                                                                                                                                                                                         PLD-PI-001(2)
           SHORT TITLE:                                                                                                                                                                                               cASE NUMeER:

            Tolbert v. Medtronic, Inc., Medtronic Neuromodulation                                                                                                                                                                                                          BC699331

                    FIRST                                                                    CAUSE OF ACTION—General Negligence Page                                                                                                                                                                  4 of6
                                          (number)

                    ATTACHMENT TO                                    ~✓Complaint 0 Cross - Complaint

                    (Use a separafe cause of                                action form for each cause of action.)

                    GN-1. Plaintiff (name): Sharon Tolbert

                               alleges that defendant (name): Medtronic, Inc., Medtronic Neuromodulation



                                                     = Does 1                                                                   to 50

                               was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                               negligently caused the damage to plaintiff
                               on (date): 3/30/16 (discovery)
                               at (piace): Various locations

                               (description of reasons for liability):                                                                                                                                                                                                     ....
                                                                                                                                                       .. .
                                   _.:..-.._:._ ........ ....._......._...._._...::.................. _.._... ......... .. ...........<..........:._.__.._,.....:._.~.._..._....-.:..:: ...._..__..,......_.__,.,~_...:-..._._._._..:_...._........,...._,-_:._.._.:..:_ .__...,..._...,............_......... ...........:..;
                                                                                                                        .. .                                                                                                                              .. . .                ..:..
                               'In the late 1990s; the Medtronic Itre13'(Mode17425) neurostiinulator.was surgically inserted irito ;
                               'Plai
                               ~     ntiff-s lumbar/buttock region for4he purpose of treating her ehronic pain, condition iri Los
                               Angeles CA: The product installed w.as dangerotis and defective iri the following w.ays, among
                               ~others: the device did not charge or maintain its charge, andJor it had defective,circuity and
                               ;components. including batteries, and/or did not display its actual longevity if°used'in certain
                               Emodes.
                               ;                ,                .
                               ~Defendants knew tliat said product would.be purchas,ed and used without zifispection for defects.
                               The product was defective when it,left the control of each Defendant. The product at the time of
                               ~injury was beirig used in the rnannei~ interided by the: Defendants, and used in the rrianner`that was ;
N                              reasonably foreseeable by'Defendants involving a substantial danger not.readily apparerit..
~                                                                                                                                                                                                                                                     .
rn
o                               Adequate warnings of the danger were not given, nor was natice of any recall, whicli in any.event ;
.                              :was, if started at all, done too late to aid Plaintiff: Plaintiff was. a recipient;
                                                                                                            .       user.and purchaser of
~                              'the product. Defendants; and each of them, owed Plaintiff a duty of reasonable care to .'                 ~
o                              .manufacture,:d' istribute; sell; and administer a-safe product for: treatment of her chronic pain         '
rn                             ;condition. Defendants breached their duty of care by both:failing to rnarkef a safe product and to :
o                              ;to report known ;risks associated witli use of its medical device..to. the:Food'arid; Drug
M                              Administration. Defendants..    were..aware, or should haye beeri                      . of:their products ~
                                                                                                   . aware, of the risk
~                              :aiid production deficiencies; but proceeded with coriscious iiidifference to the rights; safety and
Q                               «~elfare of others
                                                 . such, that exemplary damages are further -     warraqted,                              ~
—                              (.                                                                                                                                                                                             ,                            .                                                                 ~
                                                                                                                      ,                                                                                                                                        .
~
e,                              Plaintiff sustairied personal iiijuries as a direct and proziniate resultof the negligence of..
~                              ~Deferidants,:all of which..injuries'have caused and continue:to cau;tic Plait]tiff inental,physical; andi
~                              inervous
                               F
                                          pa'in and suffering.                                     •. .
rn
o                              ;                                                                                                                                                            •                                       . ..               •                             .                                      ,
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                               ~..                                                                                                                                                                                                                                                                                           I

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0
W          Fonn Approved for Optional Use                                                                                                                                                                                                                                   Code of Civil Procedure 425.12
Z            Judicial Council of Califomia                                                 CAUSE OF ACTION—General Negligence                                                                                                                                                        www.cour6nfo.ca.gov
Z        PLD-PI-001(2) [Rev. January 1, 20D7]
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      Case
DEPT 92       2:19-cv-07381-DMG-MRW
        Hon: Marc D. Gross A7260                               Document 1-1 Filed 08/26/19 Page 8 of 9 Page ID #:15
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                                                                                                                                       PLD-PI-001(5)
    SHORT TITLE:                                                                                      CASE IvuMeER:
    Tolbert v. Medtronic, Inc., Medtronic Neuromodulation, et al.
                                                                                                                               BC699331
             SECOND                                  CAUSE OF ACTION—Products Liability Page                                              5 of6
                             (number)
             ATTACHMENT TO 0 Complaint = Cross - Complaint
             (Use a separate cause of action form for each cause of action.)
             Plaintiff (name): Sharon Tolbert

             Prod. L-1. On or about (date):          3/10/16                            plaintiff was injured by the following product:

              Plaintiff discovered she had been injured by Defendants' Itrel 3(mode17425) neurostimulator.


             Prod. L-2. Each of the defendants knew the product would be purchased and used without inspection for defects.
                         The product was defective when it left the control of each defendant. The product at the time of injury
                         was being
                         0 used in the manner intended by the defendants.
                              ✓
                              0 used in the manner that was reasonably foreseeable by defendants as involving a substantial danger not
                                readily apparent. Adequate warnings of the danger were not given.
             Prod. L-3. Plaintiff was a
                         ~ ✓      purchaser of the product.                                   user of the product.
                              0 bystander to the use of the product.                    0 other (specify):

             PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
             Prod. L- 4. = Count One—Strict liability of the following defendants who
                             a. 0 ✓  manufactured or assembled the product (names):
                                                  Medtronic, Inc., Medtronic Neuromodulation, et al.

                                                      = Does I                     to 50
                                         b. 0 ✓designed and manufactured component parts supplied to the manufacturer (names):
                                                  Medtronic, Inc., Medtronic Neuromodulation, et al.

                                                      = Does I                     to 50
                                         c. 0 sold the product to the public (names):
                                                  Medtronic, Inc., Medtronic Neuromodulation, et al.

                                                      0 Does I                     to 50
             Prod. L-5.✓ 0 Count Two—Negligence of the following defendants who owed a duty to plaintiff (names):
                                          Medtronic, Inc., Medtronic Neuromodulation, et al.
                                                       = Does      1                to 50
             Prod. L-6.                   Count Three—Breach of warranty by the following defendants (names):
                                          Medtronic, Inc., Medtronic Neuromodulation, et al.
                                                       0 Does 1                     to 50
                                         a. ~ ✓who breached an implied warranty
                              b. 0 who breached an ex ress warranty which was
                                         =written               oral
             Prod. L-7. 0 The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                              0 listed in Attachment-Prod. L-7 = as follows:


                                                                                                                                                   Page 1 of 1
    Form Approved for Optional Use                    CAUSE OFACTION—Products Liability                                       Code of Civil Procedure, § 425.12
      Judicial Council of Califomia                                                                                                       www.courtinfo.ca.gov
  PLD-PI-001(5) [Rev. January 1, 2007]
    DEPT ' 2Case    2:19-cv-07381-DMG-MRW
             Hofr. Marc D. Gross A7260                           Document 1-1 Filed 08/26/19 Page 9 of 9 Page ID #:16


                                                                                                      CASE NUMeER:
       SHORT TITLE:
       _ Tolbert v. Medtronic, Inc., Medtronic Neuromodulation, et al.                                                      BC699331

                                                                                                          PAGE6of6
       2     I THIRD CAUSE OF ACTION FOR BREACH OF SONG-BEVERLY CONSUMER WARRANTY
       3

       4     I Plaintiff incorporates all other pages and allegations of this Complaint as if fully set forth herein, and

       5     I further alleges as follows:
       6

              Defendants manufactured Plaintiffs Itre13, an "assistive device" as defined by the Song-Beverly Act, for

       8     I the purpose of its eventual sale to buyers in California. In the late 1990s, Defendants sold the device to

       9     I Plaintiff. Pursuant to California Civil Code section 1792, the sale to Plaintiff of the device was

       10     accompanied by Defendants' implied warranty that Plaintiff s device was merchantable.

       11

       12    I Defendants breached the implied warranty that Plaintiffs device was merchantable because it was not fit

       13     for the ordinary purposes for which the goods are used. Specifically, Defendants have had to recall the

       14     device due to performance and longevity problems with its batteries and components, which put

       15     Plaintiff at risk of sudden death or serious injury. Consequently, Plaintiff did not receive merchantable

       16     goods as impliedly warranted by Defendants. Defendants had reason to know that Plaintiffs device

          was. _.tequired for
       17 t.~                               a particular
                                                _ _ ...
                                                         purpose; and~t~at Plaintiff was relying;on them to furnish suitable goods:               ~
       18     Plaintiff s physicians further relied upon Defendants in a like manner to furnish suitable goods.
       19     Pursuant to California Civil Code section 1792.1, the sale to Plaintiff of the aforementioned device was

       20    I accompanied by Defendants' implied warranty that the device was fit for the needs of Plaintiff. Defendants

       21     breached this warranty because the device had defects which would cause it to fail. As a direct and

       22     proximate cause of Defendants' breach of the implied warranties described herein, Plaintiff sustained

       23     severe injuries and damages, and have incurred attorney fees and costs. Plaintiff is informed and believes

       24     that she, and/or her physicians, have provided notification of this breach of warranty to Defendants.

       25

       26      (Required for verified p/eading) The items on this page stated on information and belief are (specify item numbers, not line
               numbers):
       27
0               This page may be used with any Judicial Council form or any other paper filed with the court.
                                                                                                                                  Page _
w
z                                                                       ADDITIONAL PAGE
z             Form Approved by the
Q           Judicial Council of Califomia              Attach to Judicial Council Form or Other Court Paper                             CRC 201, e01
U          MC-020 [New January 1, 19871
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